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1    McGREGOR W. SCOTT
     United States Attorney
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     Assistant U.S. Attorney
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4    Telephone: (916) 554-2727
5
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )       CR. NO. S-03-0371-MCE
                                   )
12             Plaintiff,          )       STIPULATION AND ORDER
                                   )
13        v.                       )
                                   )
14   DWIGHT JAMES FOWLER,          )       DATE: August 8, 2005
                                   )       TIME: 2:00 p.m.
15             Defendant.          )       CTRM: Hon. Morrison C. England, Jr.
     ______________________________)
16
17         The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong, Assistant United States
20   Attorney, and defendant Dwight James Fowler, through his counsel of
21   record, Mark J. Reichel, Assistant Federal Defender, hereby submits
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///

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              Case 2:03-cr-00371-JAM Document 243 Filed 08/15/05 Page 2 of 2


1    this request to change the date for entry of plea from August 8,
2    2005, at 2:00 p.m., to August 15, 2005, at 10:30 a.m.
3    DATED:     August 15, 2005                     McGREGOR W. SCOTT
                                                    United States Attorney
4
5                                         By:       /s/ WILLIAM S. WONG
                                                    WILLIAM S. WONG
6                                                   Assistant U.S. Attorney
7
     DATED:     August 5, 2005                      QUIN A. DENVIR
8                                                   Federal Defender
9
10                                        By:       /s/ MARK J. REICHEL
                                                    MARK J. REICHEL
11                                                  Assistant Federal Defender
                                                    Authorized by Matthew Bockman
12                                                     Assistant Federal Defender
13
                                         O R D E R
14
15        IT IS HEREBY ORDERED.
16   DATED: August 12, 2005
17
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19                                         _____________________________
                                           MORRISON C. ENGLAND, JR
20                                         UNITED STATES DISTRICT JUDGE
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